             Case 01-01139-AMC              Doc 30517-4   Filed 04/15/13     Page 1 of 31



                           IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

W. R. GRACE & CO., et al.,                                      Case No. 01-0113 9 (JKF)
                                                                Jointly Administered
                               Debtors.

                                          CERTIFICATE OF SERVICE


                   I, Kathleen P. Makowski, hereby certify that on the 15th day of April, 2013, I

caused a copy of the following documents to be served on the individuals on the attached service

list in the manner indicated:

                   NOTICE OF MOTION FOR ORDER AUTHORIZING THE PRIVATE
                   SALE OF REAL PROPERTY AND APPROVING THE PURCHASE AND
                   SALE AGREEMENT; AND

                   MOTION FOR ORDER AUTHORIZING THE PRIVATE SALE OF REAL
                   PROPERTY AND APPROVING THE PURCHASE AND SALE
                   AGREEMENT.




DOCS_DE: 147504.35 91100/001
          Case 01-01139-AMC           Doc 30517-4    Filed 04/15/13    Page 2 of 31




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          Case 01-01139-AMC          Doc 30517-4    Filed 04/15/13    Page 3 of 31



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          Case 01-01139-AMC        Doc 30517-4    Filed 04/15/13       Page 4 of 31




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          Case 01-01139-AMC        Doc 30517-4       Filed 04/15/13   Page 6 of 31



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         Case 01-01139-AMC       Doc 30517-4   Filed 04/15/13     Page 11 of 31



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         Case 01-01139-AMC        Doc 30517-4   Filed 04/15/13     Page 13 of 31



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         Case 01-01139-AMC       Doc 30517-4   Filed 04/15/13     Page 14 of 31



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         Case 01-01139-AMC       Doc 30517-4   Filed 04/15/13     Page 15 of 31



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          Case 01-01139-AMC              Doc 30517-4   Filed 04/15/13        Page 16 of 31




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         Case 01-01139-AMC          Doc 30517-4   Filed 04/15/13     Page 17 of 31




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          Case 01-01139-AMC              Doc 30517-4   Filed 04/15/13     Page 21 of 31




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         Case 01-01139-AMC          Doc 30517-4   Filed 04/15/13    Page 23 of 31




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         Case 01-01139-AMC        Doc 30517-4   Filed 04/15/13        Page 24 of 31




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           Case 01-01139-AMC       Doc 30517-4     Filed 04/15/13      Page 25 of 31




WR Grace - Interested Parties for 4600 Grace Drive Sale Service List
Case No. 01-1139
Document No. 186925
03 - First Class Mail


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           Case 01-01139-AMC      Doc 30517-4     Filed 04/15/13    Page 26 of 31



WR Grace - Potential Buyer for 4600 Grace Drive Sale Service List
Case No. 01-1139
Document No. 186920
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           Case 01-01139-AMC    Doc 30517-4    Filed 04/15/13   Page 27 of 31




WR Grace Maryland Department of Environment Service List
Case No. 01-1139
Document No. 186932
01 - First Class Mail


First Class Mail
Maryland Department of Environment
1800 Washington Boulevard
Baltimore, MD 21230




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           Case 01-01139-AMC      Doc 30517-4   Filed 04/15/13   Page 28 of 31




WR Grace United States EPA
Case No. 01-1139
Document No. 186930
01 - First Class Mail


First Class Mail
Environmental Protection Agency
Ariel Rios Building
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460




DOCS_DE:186930.1 91100/001
           Case 01-01139-AMC     Doc 30517-4     Filed 04/15/13    Page 29 of 31




WR Grace Attorney Generals for the States of Delaware & Maryland
Case No. 01-1139
Document No. 186928
02 - First Class Mail


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            Case 01-01139-AMC       Doc 30517-4       Filed 04/15/13   Page 30 of 31




WR Grace United States Attorneys for Districts of Maryland & Delaware
Case No. 01-1139
Document No. 186929
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           Case 01-01139-AMC     Doc 30517-4     Filed 04/15/13   Page 31 of 31




WR Grace Delaware and Maryland Local Taxing Authorities Service List
Case No. 0 1- 113 9
Document No. 186938
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First Class Mail
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Comptroller of Maryland
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